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 1                                                                            The Honorable Lauren King
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                           NO. 2:25-cv-00244-LK
10                       Plaintiffs,                        JOINT STATUS REPORT
11      v.
12   DONALD J. TRUMP, in his official capacity
     as President of the United States, et al.,
13
                         Defendants.
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15            In accordance with the Court’s Feb. 19, 2025, Minute Order, Dkt. # 163, the counsel for the

16   parties to this matter met and conferred on February 19, 2025, at 12:30 p.m. PT. The parties

17   respectfully submit this Joint Status Report as directed by the Court.

18   Briefing Schedule

19            The parties jointly propose the following briefing schedule on Plaintiffs’ Motion for

20   Preliminary Injunction:

21            Motion for Preliminary Injunction: February 19, 2025;

22            Defendants’ Response: February 25, 2025 by 5:00 p.m. PT;

23            Plaintiffs’ Reply: February 26, 2025.

24            The Plaintiffs’ position is that the Court should schedule oral argument on the motion for

25   February 28, 2025, at 2:00 p.m. PT. Plaintiffs have filed a First Amended Complaint (Dkt. # 164),

26   naming new parties including the state of Colorado as an additional Plaintiff and new Defendants,


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 1   and have raised new claims including regarding an additional executive order, E.O. 14,168, and an
 2   additional claim under the Fifth Amendment for unconstitutional vagueness. The Court should have
 3   the benefit of oral argument regarding the new issues in the Plaintiffs’ First Amended Complaint,
 4   which will be addressed in the Plaintiffs’ forthcoming Motion for Preliminary Injunction. Plaintiffs’
 5   proposal aligns with the Court’s announcement at the hearing on Plaintiffs’ Motion for Temporary
 6   Restraining Order that the Court would hold a public hearing on Plaintiffs’ Motion for Preliminary
 7   Injunction on February 28, 2025, at 2:00 p.m. PT. TRO Tr. 36:7-8 (Feb. 14, 2025).
 8          Defendants’ position is that oral argument on the forthcoming Motion for Preliminary
 9   Injunction is not necessary.
10   Evidentiary Hearing
11          Plaintiffs represented at the meet and confer that they would be submitting additional
12   evidence of the same general character as the evidence submitted in support of their Motion for
13   Temporary Restraining Order (Dkt. # 11). Defendants represented that, because Plaintiffs have
14   not yet filed their Motion for Preliminary Injunction, Defendants have not determined what they
15   would submit in their response to the forthcoming motion.
16          Plaintiffs’ position is that the need for a live evidentiary hearing cannot be determined
17   without knowing whether the Defendants intend to submit evidence and what the character of
18   that evidence is. Plaintiffs will agree that no live evidentiary hearing on Plaintiffs’ Motion for
19   Preliminary Injunction is necessary if Defendants submit no evidence in opposition to Plaintiffs’
20   motion.
21          Defendants’ position is that they intend to rely on their papers in response to Plaintiffs’
22   forthcoming Motion for Preliminary Injunction. Defendants do not believe an evidentiary
23   hearing is necessary.
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